           Case 2:10-cr-00178-MCE Document 132 Filed 11/01/12 Page 1 of 2


1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    DENNIS S. WAKS, Bar #142581
     Supervising Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     GLENN WATKINS
6
7                         IN THE UNITED STATES DISTRICT COURT
8                        FOR THE EASTERN DISTRICT OF CALIFORNIA
9    UNITED STATES OF AMERICA,           )   NO. 2:10-cr-00178-MCE
                                         )
10                     Plaintiff,        )   STIPULATION AND ORDER TO CONTINUE
                                         )   SELF SURRENDER DATE
11                v.                     )
                                         )
12   JAKE WEATHERS, et al.,              )   JUDGE: Hon. Morrison C. England
                                         )   Jr.
13                     Defendants.       )
                                         )
14   _____________________________       )
15              GLENN WATKINS, by and through his counsel, DENNIS S. WAKS,
16   Supervising Assistant Federal Defender and the United States
17   Government, by and through its counsel, MICHAEL M. BECKWITH, Assistant
18   United States Attorney, hereby agree to the following:
19         1.    On September 6, 2012, this defendant was sentenced to the
20   custody of the Bureau of Prisons for a term of 12 months and 1 day
21   imprisonment and he has a self surrender date of Friday, November 2,
22   2012 by 2:00 p.m..
23         2.    The defendant has contacted our office and has requested
24   additional time to self-surrender in order to relocate his grandmother
25   who resides with him.     His grandmother suffers from dementia and Mr.
26   Watkins is currently trying to locate a residence to care for her
27   during his incarceration.
28   ///
          Case 2:10-cr-00178-MCE Document 132 Filed 11/01/12 Page 2 of 2


1         3.   Defense counsel has been in contact with Assistant United
2    States Attorney, Michael M. Beckwith who has no objection to continuing
3    the defendant's self surrender date.       Mr. Watkins agrees to remain
4    under Pretrial Services Supervision until he voluntarily surrenders to
5    a Bureau of Prison facility.     Renee Basurto of Pretrial Services has
6    been advised of this request and she has no objection.
7         Therefore, it is agreed that the defendant's self surrender date
8    of Friday, November 2, 2012, be continued to Friday, November 16, 2012,
9    by 2:00 p.m.
10
11   DATED: October 23, 2012          Respectfully submitted,
12                                    DANIEL J. BRODERICK
                                      Federal Defender
13
                                      /S/ Dennis S. Waks
14                                    DENNIS S. WAKS
                                      Supervising Assistant Federal Defender
15                                    Attorney for Defendant
                                      GLENN WATKINS
16
17   DATE: October 23, 2012           BENJAMIN B. WAGNER
                                      United States Attorney
18
                                      /S/ Dennis S. Waks for
19                                    MICHAEL M. BECKWITH
                                      Assistant United States Attorney
20
21                                     O R D E R
22
          IT IS SO ORDERED.
23
24
     Dated: October 31, 2012
25
26                                       _____________________________
                                         MORRISON C. ENGLAND, JR.
27
                                         UNITED STATES DISTRICT JUDGE
28


                                            2
